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                 UNITED STATES DISTRICT COURT
                FOR THE DISTRICT OF NEW JERSEY
                       CAMDEN VICINAGE



IN RE: VALSARTAN, LOSARTAN, MDL No. 2875
AND IRBESARTAN PRODUCTS
LIABILITY LITIGATION        Honorable Robert B. Kugler,
                            District Court Judge

                                       Oral Argument Requested
This Document Relates to All Actions


   TPP DEFENDANTS’ MEMORANDUM OF LAW IN SUPPORT OF
       JOINT MOTION FOR ORDER TO SHOW CAUSE WHY
     MSP RECOVERY CLAIMS, SERIES LLC SHOULD NOT BE
     SANCTIONED FOR VIOLATION OF SMO 73 AND CMO 32
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      Defendants Zhejiang Huahai Pharmaceutical Co., Ltd., Huahai US Inc.,

Prinston Pharmaceutical Inc. d/b/a Solco Healthcare LLC, Solco Healthcare US,

LLC, Teva Pharmaceuticals USA, Inc., Teva Pharmaceutical Industries Ltd.,

Actavis Pharma, Inc., Actavis, LLC, Torrent Pharmaceuticals Ltd., and Torrent

Pharma Inc. (collectively, the “TPP Defendants”), move for an order to show cause

why Plaintiff MSP Recovery Claims, Series LLC (“MSPRC”) should not be

sanctioned under Fed. R. Civ. P. 37(b), for its failure to comply with Special Master

Order No. 73 [Dkt. 2249] (“SMO 73”), entered by the Special Master on January 24,

2023, and Case Management Order 32 [Dkt. 2343] (“CMO 32”), entered by the

District Court on April 21, 2023.

                                INTRODUCTION

      SMO 73 contains a clear and unambiguous instruction: “MSPRC will be

directed to produce the documents reflecting the subsidies, reimbursements, and

rebates it received from CMS during the time period for which it is seeking

damages.” SMO 73 at 4 (emphasis added). There was no possibility of

misunderstanding what documents are responsive to this direction; the TPP

Defendants identified 14 specific categories of responsive reports and datasets in

their motion to compel, and reiterated those 14 categories of reports and datasets

repeatedly at oral argument as responsive to the TPP Defendants’ discovery request

seeking documents “reflecting subsidies, reimbursements, and rebates that You



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received from” the Center for Medicare and Medicaid Services (“CMS”). MSPRC

never disputed that (1) these 14 reports and datasets are the documents reflecting the

subsidies, reimbursements, and rebates it received; (2) it has possession, custody, or

control of the reports and datasets through its assignors; and (3) it would not be

unduly burdensome for MSPRC to produce them. Thus, MSPRC’s compliance with

SMO 73 was a simple matter of producing the 14 reports and datasets reflecting the

subsidies, reimbursements, and rebates its assignors received from CMS during the

time period for which it is seeking damages. Under CMO 32, moreover, MSPRC

was ordered to complete its rolling production by May 3, 2023.

      MSPRC has failed and refused to comply with SMO 73 and CMO 32. As of

May 3, 2023, MSPRC had produced only two groups of documents in response to

SMO 73 (the “Produced Documents”): (1) some but not all of its prescription drug

event (“PDE”) records during the relevant time period; and (2) a handful of Excel

spreadsheets purporting to present very limited data reflecting some of the subsidies

purportedly paid to MSPRC’s assignors at the highest and least useful level of

abstraction, with none of the detail contained in the 14 reports and datasets and

needed to properly analyze the data and to use it to evaluate the report of Plaintiffs’

damages expert. Although the Produced Documents are responsive to SMO 73, they

are certainly not all of the responsive documents in MSPRC’s possession, custody,

or control responsive to SMO 73, and fall far short of expressing all of the key data


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reflecting the subsidies, reimbursements, and rebates MSPRC’s assignors received

from CMS. In short, MSPRC has violated SMO 73 and CMO 32, and its violation

has materially prejudiced the TPP Defendants’ ability to prepare their own damages

expert reports responding to Plaintiffs’ damages expert. The TPP Defendants have

met and conferred with MSPRC’s counsel in a diligent attempt to secure compliance

with the Court’s orders, but MSPRC has refused to provide any additional materials.

      For these reasons, the TPP Defendants respectfully request that the Court

issue an order to show cause why MSPRC should not be sanctioned under Rule

37(b)(2)(A) for failing to comply with SMO 73 and CMO 32. The orders clearly

direct MSPRC to provide specific discovery. MSPRC indisputably violated both

orders by failing to timely produce the documents reflecting the subsidies,

reimbursements, and rebates its assignors received from CMS during the relevant

time period. Its violation has specifically prejudiced the TPP Defendants in rebutting

Plaintiffs’ damages expert and has directly impacted the progress of this case under

the schedule set forth in CMO 32. These circumstances support a variety of potential

sanctions, and MSPRC should be ordered to show cause why it should not be subject

to such sanctions for its violation of discovery orders.

                                  BACKGROUND
      SMO 73 granted in part the TPP Defendants’ Joint Motion to Compel

Production of Documents and Data Relevant to Plaintiff’s Alleged Damages [Dkt.



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2178] (“Motion to Compel”). Specifically, the Special Master granted the Motion to

Compel with respect to Request No. 2:

      Request 2. Subsidy, Reimbursement, and Rebate Data: Data [in Excel
      format] and reports reflecting subsidies, reimbursements, and rebates that You
      received from CMS [Center for Medicare and Medicaid Services], including
      but not limited to prescription drug event (“PDE”) reports and all PDE
      payment records reflecting reimbursements and payments for valsartan-
      containing drugs, and other standard reports and data available through
      CMS which reflect payments made or received by You for any prescription
      drugs for Insureds enrolled in Your Plans during the Relevant Time Period,
      such as Monthly Membership Summary Reports, Plan Payment Reports,
      [and] Payment/Interim Plan Payment Records Reports.
[Dkt. 2178-1 at 2 (emphasis added)]. The TPP Defendants identified with specificity

in their supporting brief a list of the fourteen responsive reports and datasets

encompassed by Request No. 2 (the “14 Reports and Datasets”):

      •     Monthly Membership Reports (MMR)
      •     Monthly Membership Summary Data Reports (MMSR)
      •     Monthly Membership Summary Data Files (MMSD)
      •     Plan Payment Reports (PPR)
      •     Plan Payment Report/Interim Payment Data Files (IPPR)
      •     Payment Records Reports
      •     Payment Reconciliation System (PRS) annual reports detailing the
            annual reconciliation based on PDE records
      •     Risk Adjustment System (RAS) Prescription Drug Hierarchical
            Condition Category (RxHCC) Model Output Data Files
      •     RAS RxHCC Model Output Reports
      •     Medicare Advantage Organization (MAO) 004 Reports – Encounter
            Data Diagnosis Eligible for Risk Adjustment
      •     Prescription Drug Event (PDE) Submittal File
      •     Prescription Drug Event (PDE) PDFS Response Data File
      •     Prescription Drug Event (PDE) DBC Cumulative Beneficiary
            Summary Report




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      •      COB-OHI files and COB-OHI Supplement Records, which include
             National Drug Codes (NDCs) submitted by Patient Assistance
             Programs (PAPs).

[Id. at 7-8]. MSPRC opposed this request and filed a brief in opposition. [Dkt. 2181].

      The Special Master heard extensive argument from the parties at the October

27, 2022 Case Management Conference. The arguments made during that hearing

meaningfully inform the present motion, and specifically the recognition of all

parties and the Special Master that Request No. 2 was inclusive of the 14 Reports

and Datasets. See Transcript of Oct. 27, 20222 Case Management Conference (“Oct.

27 Tr.”), attached hereto as Exhibit A. Plaintiffs’ counsel first acknowledged that it

was relevant to the damages calculation under their own “point of sale” measure of

damages to identify “what was paid and what was reimbursed,” which requires the

production of “the historical numbers” and “historical data so that [TPP Defendants]

understand what the actual dollars are.” Oct. 27 Tr. at 22:14-19. Yet Plaintiffs’

counsel also questioned the ability of the TPP Defendants’ experts to “disaggregate”

the Medicare subsidy, reimbursement, and rebate data and “[t]o tease out in the

aggregate what the assignors got from Medicare and how it did or did not relate to

valsartan,” which Plaintiffs’ counsel insisted was necessary “[f]or the aggregate

information to be relevant, they have to have a means to disaggregate.” Id. at 30:7-

15. Plaintiffs then proposed in the “nature of a compromise” that MSPRC produce

all of the requested reports and data only for “the year of the recall,” as well as



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reports (i.e. the PDE reports) relating to subsidies during the “catastrophic and low

income” phases of Medicare coverage for two years, and then allow TPP Defendants

to “come back” and seek more. Id. at 31-21-33:3.

      The TPP Defendants opposed the proposed “compromise,” arguing that the

Medicare reports and data were demonstrably relevant, and “[t]he opportunity to

look at government expenditures, the opportunity to determine whether those can be

disaggregated, whether those can be subtracted from plaintiffs’ assessed damages

calculation … is directly relevant to what is at issue in this case.” Id. at 36:24-38:2.

The TPP Defendants expressly referenced the 14 Reports and Datasets as “the

specific reports and specific datasets we believe are responsive to request number 2”

listed in the TPP Defendants’ motion, and noted that these 14 Reports and Datasets

are all “pre-baked” and accessible and Plaintiffs had made no showing that it would

be burdensome to produce them. Id. at 38:20-39:22. Plaintiffs’ counsel then spoke

for several more minutes reiterating their arguments regarding the disaggregation of

data, but never disputed that MSPRC could produce all of the 14 Reports and

Datasets, never argued that it would be burdensome to do so, and repeated the

proposed compromise to produce all of the materials requested for one year and

certain categories for two years. Id. at 39:23-43:1.

      The Special Master then asked the TPP Defendants’ counsel to further address

Plaintiffs’ proposal to produce “limited data,” and the TPP Defendants’ counsel


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again noted that the request was seeking “14 specific data reports and 14 specific

datasets over a limited period of time,” and producing those 14 Reports and Datasets

“over the full period of time versus producing it over a year or two, you’re talking

about essentially the same amount of efforts. So it is a limited amount of data, but it

will enable our experts to undertake a comprehensive analysis.” Id. at 45:16-22.

      Following briefing and argument, the Special Master entered SMO 73

granting the TPP Defendants’ Motion to Compel with respect to Request No. 2. The

Special Master found, “The extent to which such payments [by third-party payors

(“TPPs”) for at-issue valsartan drugs] were offset by subsidies, reimbursements or

rebates from CMS appears clearly relevant to the determination of actual damages

sustained by the alleged contamination of the VCDs.” SMO 73 at 3-4 (citing In re

Namenda Indirect Purchaser Antitrust Litig., 115CV6549CMRWL, 2022 WL

3362429, at *11 (S.D.N.Y. Aug. 15, 2022)). The Special Master also specifically

rejected MSPRC’s argument that “aggregate” data are not relevant, holding: “The

fact that the data are aggregated, and not produced on a per product basis, does not

defeat the relevance of such data. Indeed, such data may be important in contesting

damage calculations made by Plaintiff’s experts.” Id. at 4. Thus, the Special Master

concluded: “Accordingly, MSPRC will be directed to produce the documents

reflecting the subsidies, reimbursements, and rebates it received from CMS during

the time period for which it is seeking damages.” Id. (emphasis added).


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      After certifying classes, including a TPP Economic Loss Class and subclasses,

the District Court entered CMO 32 on April 21, 2023, setting out a trial plan with

MSPRC as plaintiff on behalf of four subclasses of the TPP Economic Loss Class,

to hear claims of breach of express and implied warranty, fraud, and consumer

protection against the TPP Defendants under various groupings encompassing the

laws of 43 jurisdictions. CMO 32 § 1.0. CMO 32 ordered that MSPRC was to

complete its rolling production by May 3, 2023. See id. § 3.0. CMO 32 also set a

deadline of May 27, 2023 for the TPP Defendants to disclose their damages experts

responding to the report of Plaintiffs’ damages expert, Dr. Rena Conti. Id. § 8.1. The

District Court subsequently modified that deadline to June 7, 2023 under CMO 32A,

entered on April 27, 2023 [Dkt 2368]. CMO 32A § 8.1. The parties are also to

“submit a schedule for deposing the damages experts” by June 7, 2023. Id. § 8.2.

      As of May 3, 2023, MSPRC had produced only the two categories of

Produced Documents in response to SMO 73. The TPP Defendants wrote to

MSPRC’s counsel and the Plaintiffs’ Executive Committee (“PEC”) on May 9,

2023, demanding production of the missing documents by Friday, May 12, 2023,

and offering dates and time to meet and confer. See Letter from G. Ostfeld dated

May 9, 2023, attached hereto as Exhibit B. MSPRC responded on May 12, 2023,

refusing to producing any additional documents. See Letter from J. Mestre dated

May 12, 2023, attached hereto as Exhibit C. The parties conducted a meet-and-


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confer on May 16, 2023, during which Plaintiffs would not commit to produce the

additional reports and datasets responsive to SMO 73. Accordingly, the TPP

Defendants’ counsel has in good faith conferred with MSPRC in an effort to obtain

its compliance with SMO 73 and CMO 32 without court action, and those efforts

have not been successful.

                                    ARGUMENT

I.    MSPRC Has Violated SMO 73 and CMO 32 by Failing to Timely
      Produce the Responsive Subsidy, Reimbursement, and Rebate
      Documents and Data It Was Ordered to Produce
      MSPRC has failed and refused to comply with SMO 73 and CMO 32. The

May 3 deadline set by CMO 32 has passed, and MSPRC has not produced the

substantial majority of the documents reflecting the subsidies, reimbursements, and

rebates its assignors received from CMS during the time period for which it is

seeking damages. Indeed, of the 14 Reports and Datasets, MSPRC had produced

only the Produced Documents, consisting of a portion of its PDE data (but omitting

PDE claims data for EmblemHealth for date of service year 2014 and all PDE data

for ConnectiCare claims) and a handful of Excel spreadsheets reporting certain

subsidies at the highest level of abstraction, while omitting all of the other 14 Reports

and Datasets encompassed by Request No. 2. The following data and reports (the

“Missing Production Materials”) remain outstanding:

      •      Prescription Drug Event (PDE) data files for EmblemHealth for date of
             service year 2014


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      •     PDE data files for ConnectiCare
      •     Monthly Membership Reports (MMR)
      •     Monthly Membership Summary Data Reports (MMSR)
      •     Monthly Membership Summary Data Files (MMSD)
      •     Plan Payment Reports (PPR)
      •     Plan Payment Report/Interim Payment Data Files (IPPR)
      •     Payment Records Reports
      •     Payment Reconciliation System (PRS) annual reports detailing the
            annual reconciliation based on PDE records
      •     Risk Adjustment System (RAS) Prescription Drug Hierarchical
            Condition Category (RxHCC) Model Output Data Files
      •     RAS RxHCC Model Output Reports
      •     Medicare Advantage Organization (MAO) 004 Reports – Encounter
            Data Diagnosis Eligible for Risk Adjustment
      •     COB-OHI files and COB-OHI Supplement Records, which include
            National Drug Codes (NDCs) submitted by Patient Assistance
            Programs (PAPs).

      MSPRC has never disputed that the 14 Reports and Datasets, including all of

the Missing Production Materials, are documents “reflecting the subsidies,

reimbursements, and rebates” its assignors “received from CMS during the time

period for which it is seeking damages.” SMO 73 at 4. Thus, the Missing Production

Materials fall within the plain language of SMO 73’s mandate, and MSPRC’s failure

and refusal to produce the Missing Production Materials are a direct violation of

SMO 73 and CMO 32.

      The TPP Defendants sent a deficiency letter to MSPRC’s counsel and the PEC

on May 9, 2023, demanding production of the Missing Production Materials by May

12. See Ex. B. Prompt compliance is essential, because the TPP Defendants’

damages expert reports are due on June 7, 2023, and the defense experts need time



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to analyze the Missing Production Materials. Doing so is likely to require multiple

weeks, as reflected by the 35-day period between the completion of MSPRC’s

rolling production (May 3) and the deadline for the TPP Defendants’ damages expert

reports (June 7). MSPRC’s delinquent production is thus directly impeding expert

discovery and progress towards the depositions of damages experts as ordered by

CMO 32. The TPP Defendants also offered dates to meet-and-confer.

      MSPRC responded on May 12, 2023. See Ex. C. It refused to produce any of

the Missing Production Materials. Disregarding the plain language of SMO 73, as

well as Request No. 2, the parties’ briefs, and the arguments made by Plaintiffs’

counsel at oral argument, MSPRC now asserts it has complied with SMO 73, insists

it is not required to produce data “in the format that Defendants would have liked or

the precise form to which Defendants believe they are entitled,” and states that SMO

73 “didn’t order the data to be produced on a specific form[.]” Ex. C at 1-2.

      These contentions are simply false. SMO 73 is not ambiguous. It directs

MSPRC to produce “the documents reflecting the subsidies, reimbursements, and

rebates” its assignors received from CMS during the relevant time period. SMO 73

at 4. The Missing Production Materials indisputably fit this description. Nor was

there ever any question as to their inclusion in Request No. 2. The request itself

specifically sought all data and reports “reflecting subsidies, reimbursements, and

rebates” received from CMS, including “standard reports and data available through


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CMS … such as Monthly Membership Summary Reports, Plan Payment Reports,

[and] Payment/Interim Plan Payment Records Reports.” [Dkt. 2178-1 at 2

(emphasis added)]. More than that, the TPP Defendants specifically listed the 14

Reports and Datasets in their Motion to Compel as the list of “standard reports and

data” responsive to Request No. 2. [Id. at 7-8]. Further, the TPP Defendants

repeatedly referenced these 14 Reports and Datasets as responsive at oral argument,

without contradiction by MSPRC when it proposed its rejected “compromise” of one

year of responsive reports and data. Rule 34 requires MSPRC to produce the

responsive materials in its “possession, custody, or control,” not the cherry-picked

items it deems sufficient after being ordered to comply with Request No. 2. Fed. R.

Civ. P. 34(a)(1). This is not a matter of failing to produce responsive documents or

data in the format the TPP Defendants “would have liked,” but rather a direct

violation of the clear and unambiguous mandate of SMO 73.

      MSPRC’s excuses for its violations of SMO 73 have no merit. First, MSPRC

points to the “excel sheets” it produced as part of its Produced Documents, which it

claims “show[] all the payments that it received from CMS that could relate to the

claims at issue.” Ex. C at 2. MSPRC further asserts that the TPP Defendants “fail to

identify what additional data they hope to glean from the fourteen specific forms that

they identify in their letter” or “how that data would be any different from the data

that MSPRC has already produced[.]” Ex. C at 2. The TPP Defendants are not


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required, of course, to make yet another showing that the 14 Reports and Datasets

are relevant; SMO 73 already decided that issue and ordered them produced.

      Regardless, MSPRC’s position is deeply disingenuous. As MSPRC is well

aware, its “excel sheets” contain nowhere close to the same level of detail available

in the 14 Reports and Datasets. The Excel sheets (which are designated confidential

and therefore are not attached to this motion, but will be made available to the

Special Master on request), present data at the highest and least useful level of

abstraction. They contain only contract-level summaries of direct subsidies and

certain other amounts at the broadest level of aggregation. They contain no

beneficiary-level detail at all, such as hierarchical condition categories (“HCCs”),

diagnosis codes, or beneficiary-specific direct subsidy payment amounts. These are

the essential details necessary to perform the “disaggregation” that Plaintiffs

themselves argued must be undertaken in order to render the subsidy,

reimbursement, and rebate data relevant to damages. Oct. 27 Tr. at 30:7-15.

      Plaintiffs’ motives for violating SMO 73 are clear: they seek to protect their

damages expert from criticism by depriving the TPP Defendants’ damages experts

of the very beneficiary-level data and detail necessary to demonstrate the relevance

of the Medicare subsidies, reimbursements, and rebates to Plaintiffs’ damages

calculations, and the errors of Plaintiffs’ damages expert in failing to account for

them. That is invalid. MSPRC’s obligation is to produce the responsive documents


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“in the responding party’s possession, custody, or control,” not just the least useful

and least informative iteration of responsive data that MSPRC is able to identify and

is willing to supply in defiance of a court order. Fed. R. Civ. P. 34(a)(1).

      Second, MSPRC asserts that “many” of the Missing Production Materials

“would include data that the Court expressly held that MSPRC did not have to

produce, such as highly confidential information related to the assignors’ bids.” Ex.

C at 2. MSPRC never previously objected to producing any of the 14 Reports and

Datasets on this basis and offers no explanation for it now. It is non-sensical. What

SMO 73 held MSPRC did not have to produce was “CMS bids,” comprised of all

materials “submitted in connection with … bid submissions to CMS” for each

contract year. SMO 73 at 2, 5. The Special Master specifically distinguished bid

submissions, which deal with “estimated receipts and expenditures,” from “what

actually occurred, as opposed to what was estimated or projected to happen.” Id. at

5-6 (emphasis in original). None of the Missing Production Materials deal with

“estimated” or “projected” receipts or expenditures; they are all historical reports of

“what actually occurred.” The Missing Production Materials are the very records of

“what was paid and what was reimbursed” that Plaintiffs’ counsel has acknowledged

to be relevant as “historical numbers” and “historical data.” Oct. 27 Tr. at 22:14-19.

      Third, MSPRC acknowledges it has not produced EmblemHealth PDE data

for 2014, but asserts only that EmblemHealth “has provided all the PDE data that it


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possesses for the claims at issue,” and states “MSPRC cannot produce what does not

exist.” Ex. C at 1. Although that is undoubtedly true, it raises significant concerns as

to why EmblemHealth retained and produced PDE data for 2013 and 2015 to 2017,

but not 2014. EmblemHealth’s failure to retain and produce relevant data requires

more explanation to the TPP Defendants and the Court than a bare denial that the

data and records exist.

      Fourth, MSPRC misleadingly asserts that it is not required to produce PDE

data for ConnectiCare, because SMO 73 relates to the claims “assigned to MSPRC”

by two TPPs, EmblemHealth and Summacare. What MSPRC omits is the fact that

ConnectiCare is a subsidiary of EmblemHealth, and Plaintiffs’ own damages expert

has included ConnectiCare’s claims data and a calculation for ConnectiCare’s

damages as part of her damages calculation for the claims assigned to MSPRC by

EmblemHealth. Plaintiffs cannot have it both ways. If ConnectiCare’s claims are

part of EmblemHealth’s claims for purposes of calculating MSPRC’s damages, then

ConnectiCare’s reports and data must be produced as part of EmblemHealth’s

production for purposes of evaluating EmblemHealth’s damages calculation.

II.   MSPRC’s Violations Warrant an Order to Show Cause Why MSPRC
      Should Not Be Subject to Sanctions and Other Relief

      MSPRC’s violations of SMO 73 and CMO 32 support sanctions under Rule

37(b)(2)(A), which authorizes the Court to impose sanctions if a party “fails to obey

an order to provide or permit discovery[.]” Fed. R. Civ. P. 37(b)(2)(A). Here, SMO


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73 ordered MSPRC to provide discovery and CMO 32 set a deadline for MSPRC to

do so. MSPRC violated both orders. Sanctions at the Court’s disposal include, but

are not limited to, “prohibiting the disobedient party from supporting or opposing

designated claims or defenses, or from introducing designated matters in evidence,”

“striking pleadings in whole or in part,” “staying further proceedings until the order

is obeyed,” “dismissing the action or proceeding in whole or in part,” or “treating as

contempt of court the failure to obey any order except an order to submit to a

physical or mental examination.” Id. Instead of or in addition to the foregoing

sanctions, “the court must order the disobedient party, the attorney advising that

party, or both to pay the reasonable expenses, including attorney’s fees, caused by

the failure, unless the failure was substantially justified or other circumstances make

an award of expenses unjust.” Fed. R. Civ. P. 37(b)(2)(C).

      Rule 37 sanctions “are available to the district court ‘not merely to penalize

those whose conduct may be deemed to warrant such a sanction, but to deter those

who might be tempted to such conduct in the absence of such a deterrent[.]’” Wachtel

v. Health Net, Inc., 239 F.R.D. 81, 84 (D.N.J. 2006) (quoting Nat’l Hockey League

v. Metro. Hockey Club, 427 U.S. 639, 643 (1976)). The Court “has broad discretion

regarding the type and degree of sanctions it can impose,” so long as the sanctions

are “just and related to the claims at issue.” Id. (citing Estate of Spear v. Comm’r of




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Internal Revenue Serv., 41 F.3d 103, 109 (3d Cir. 1994)). See also Harris v. City of

Philadelphia, 47 F.3d 1311, 1330 (3d Cir. 1995).

       Appropriate sanctions for MSPRC’s violations of SMO 73 and CMO 32

include: (1) striking Plaintiffs’ damages report and prohibiting Plaintiffs from

presenting a damages calculation in reliance upon that report; (2) disqualifying

MSPRC from serving as a class representative; (3) staying proceedings until

MSPRC complies with SMO 73; (4) holding MSPRC in contempt for its failure to

comply with SMO 73 and CMO 32; and (5) ordering MSPRC to pay the reasonable

expenses, including attorney’s fees, caused by its failure to comply with SMO 73

and CMO 32. Any or all of these sanctions are just and related to the claims at issue,

insofar as MSPRC’s failure to comply with SMO 73 has substantially prejudiced the

TPP Defendants’ ability to evaluate Plaintiffs’ damages report, to prepare their

responsive expert damages reports, and to comply with the deadlines set forth in

CMO 32 for expert disclosures and depositions. In the first instance, however,

MSPRC should be ordered to show cause why it should not be sanctioned for its

violations of SMO 73 and CMO 32, the TPP Defendants can reply, and the Special

Master and/or the Court may then take the issue up for resolution.

III.   The June 7, 2023 Deadline for the TPP Defendants’ Damages Expert
       Reports and Schedule for Deposing Damages Experts Should Be
       Extended Until 35 Days After MSPRC Complies with SMO 73
       MSPRC’s violations of SMO 73 and CMO 32 also directly impact the



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schedule set out by the District Court in CMO 32. As discussed above, under CMO

32, as modified by CMO 32A on April 27, 2023 [Dkt 2368], the TPP Defendants are

required to “submit their response to the report of plaintiffs’ damages expert Dr.

Rena Conti” by June 7, 2023. CMO 32A § 8.1. The parties are also to “submit a

schedule for deposing the damages experts” by June 7, 2023. Id. § 8.2.

      For the reasons described above, MSPRC’s failure to produce the Missing

Production Materials has directly impacted the ability of the TPP Defendants’

damages experts to complete their responses to Dr. Conti’s damages report. In

particular, the TPP Defendants’ experts cannot complete their analysis regarding the

impact of Medicare subsidies, reimbursements, and rebates upon Dr. Conti’s

damages calculations, because MSPRC’s violation of SMO 73 and CMO 32 has

deprived them of timely access to the reports and datasets necessary to this analysis.

      If MSPRC had timely produced the Missing Production Materials by May 3,

2023, as directed by CMO 32, the TPP Defendants’ experts would have had 35 days

to analyze the materials and to incorporate them into their expert reports.

Accordingly, to mitigate the prejudice created by MSPRC’s violations, the TPP

Defendants’ deadline of June 7 to submit their responsive reports and to submit a

schedule for deposing the damages experts should be extended until 35 days after

MSPRC complies in full with SMO 73.




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                                 CONCLUSION

      For these reasons, and those discussed in the Motion, Defendants respectfully

request that the Court enter an order requiring MSPRC to show cause why it should

not be sanctioned under Rule 37(b)(2)(C) for its violations of SMO 73 and CMO 32,

awarding the TPP Defendants their costs, including reasonable attorneys’ fees, of

bringing this motion, and granting such other and further relief as the Court deems

necessary or appropriate.

Dated: May 16, 2023                          Respectfully Submitted:

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      AFFIDAVIT OF COMPLIANCE WITH LOCAL RULE 37.1(b)(1)

      Pursuant to Local Rule 37.1(b)(1), I hereby certify that on May 16, 2023, the

TPP Defendants met and conferred with counsel for MSPRC in a good faith effort

to resolve by agreement the issues raised in the instant motion without the

intervention of the Court, and the parties have been unable to reach agreement. I

declare under penalty of perjury that the foregoing is true and correct.

Dated: May 16, 2023                           Respectfully Submitted:

                                              By: /s/ Gregory E. Ostfeld
                                              Gregory E. Ostfeld




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                        CERTIFICATE OF SERVICE

      I, Steven M. Harkins, an attorney, hereby certify that on May 16, 2023, I

caused a copy of the foregoing document to be served on all counsel of record via

CM/ECF.


                                                  /s/ Steven M. Harkins
                                                  Steven M. Harkins




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